  Case 2:19-cv-00434 Document 38-13 Filed 03/15/21 Page 1 of 1 PageID #: 296




Vision Statement:

                                                   (formerly                               )
is founded on the vision and belief that every person has the right to be safe, empowered,
and free from violence and the fear of violence. Central to this belief,     seeks to
eliminate domestic violence, sexual assault, stalking, dating violence and human trafficking.
Additionally, the agency aims to reduce related social problems, such as child abuse,
substance abuse, sexism, racism, and other forms of oppression.

Mission Statement:

        mission is to protect victims, prevent violence and empower survivors of domestic
violence, sexual assault, stalking, dating violence, and human trafficking. We accomplish
this by providing victims and survivors the resources necessary to effectively cope with the
personal, social, emotional and legal ramifications of victimization.

Strategic Goals:

      CLIENT OUTCOMES: Deliver quality crisis, advocacy services to ensure the safety of
       our clients and to help them achieve improved social emotional wellbeing.
      EDUCATION & AWARENESS: Educate the community about the incidence and
       causes of domestic violence and sexual assault, and increase awareness of the
       critical importance of the services we provide.
      SUSTAINABILITY: Increase and diversify financial, community support to sustain
       our mission.
      STRATEGIC PARTNERSHIPS: Continue to build relationships with public and
       private organizations to achieve greater impact.
      ORGANIZATION CAPACITY: Develop and strengthen the organization’s capacity to
       fulfill our mission goals.

Diversity Value Statement
      is committed to eliminating racism, homophobia, transphobia, sexism, ableism and all
other forms of oppression. We understand that this is a limitless process, which requires
ongoing openness, diligence and work. We believe that any form of oppression enables
domestic violence, sexual assault, stalking, dating violence and human trafficking, and
therefore efforts to end these victimizations must include an anti-oppression agenda.




                                                                    Program C Decl., Ex. 1
